                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE




UNITED STATES OF AMERICA,                             )
                                                      )
               Plaintiff,                             )
                                                      )
                                                      )       No. 3:05-CR-115
v.                                                    )       (Phillips/Guyton)
                                                      )
JOSEPH FAIRCLOTH,                                     )
                                                      )
               Defendant.                             )


                               MEMORANDUM AND ORDER

               All pretrial motions in this case have been referred to the undersigned pursuant to 28

U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

Court as may be appropriate.

               Counsel for the defendant Joseph Faircloth has advised the Court by telephone that

he is withdrawing the defendant’s Motion to Suppress [Doc. 40], which was scheduled for hearing

on February 7, 2006. Accordingly, the evidentiary hearing scheduled for February 7, 2006 is

CANCELLED, and the defendant’s Motion to Suppress [Doc. 40] is DENIED AS MOOT.

               IT IS SO ORDERED.



                                              ENTER:


                                                    s/ H. Bruce Guyton
                                              United States Magistrate Judge




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